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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order owsrcosares

 

 

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

Political and/or Election Mail. District: CC“ LA “(© DC _ Name: LZ CELSO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Title: OS> Phone #,__6( U 882-32 5
‘ . Comments:
Check box | 5ection/Operation:
when checked Defines the work urea to he seaiched. Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted
LA Incoming dock
V1 = BMEU & BMEU Plant Staging
fo ) | Opening units i 6 We © [BOX SACS Aofe: It
ar ip Kellbs | Boy [tes CATV Bs
LA AO / Station dispatch area 23fIkt Goth, [Ser (eer ZAMS
Outbound dock
Outgoing Dispatch Area
VY] : Trailers in yard (Yard Check)
iy MTE Plant Staging Area
MTE trailers
[| Site MTESC /h
[| PARS Staging and Operations pv JA
[4 Rewrap Operations
[| CFS {if applicable) IA
Fy BRM/Postage Due

 

 

 

 

 

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